Case 1:22-cr-00244-TNM Document 65-2 Filed 05/01/23 Page 1 of 5




   United States v. Hatchet Speed, 22CR244
                        Exhibit B
            Speed’s January 14th Email
           Case 1:22-cr-00244-TNM Document 65-2 Filed 05/01/23 Page 2 of 5


From:               L Alexander Speed
To:                 SQeed.
Subject:            Re: Perspective
Date:               Friday, January 15, 2021 11:37:24 PM


You must have read my mind. I have been wanting to ask you for several days for your perspective on the events at
the capitol. I have been moving over the last few days and just got my internet hooked up a couple of days ago. I
missed a ton of news and haven't been following my usual sources. Either way, on my runs I've been thinking that I
would sure like to ask you what went on over there, I assumed that you were probably there. It was so refreshing to
read your take on thin gs. Truly the best and most enlightening of any that I have read. I wonder if you could have
it published? Maybe at redstate.com or something. Seriously, I think some readers would really appreciate your
perspective the way you wrote it.
You add a really telling perspective, especially about how they used the tear gas.

I was reading 3 Ne this morning, 6: 13. I had the thought that we are past the Paul Revere point. I think the
nefarious had too much control over everything. We have been asleep at the wheel while they have taken over our
legislatures, our courts, our bureaucracies, our educational institutions, our media, communications, our
entertainment, our healthcare, and now it looks like our food production (just saw the headline that Bill Gates is the
largest farm owner now in America). They have made strong inroads in our military, intelligence, and churches.

Not to say that I don't think we must still lend our energies against the onslaught against our liberties as has always
been our responsibility, but our ultimate victory I think will come from power beyond this world, just as it took the
miraculous events which transpired during the three days of darkness to turn the Nephites around. Before that time
though, there were powerful voices getting followers on both sides. May we also have powerful voices of truth and
liberty in our winding up scenes. I would that I could be one also. I don't know that I am in a position to be so, but
in a way, I appreciate how the events of our times are showing us more clearly who's side people are on. While
saddening and disappointing to see the extremes that are being pursued to enslave us, there is also a certain thrill,
that being counted among the believers is becoming more and more a battle cry of true commitment and devotion.

Thanks for the note. It was so refreshing to read. I am still holding out hope that something miraculous will
happen in our favor in the next week that would show Biden corruption so obviously that all of America and the
courts would concede that his election was a sham and that he should not take office. Makes me think how wise the
founders were in originally setting the inauguration for March. That would provide more time to pursue and try the
truth in cases of fraud like this.

Best wishes to you. Hope you stay safe,
Alexander




On Thu, Jan 14, 2021 at 7:21 PM Speed <speedness@gmail.com> wrote:
 Alexander,

  This is an interesting article about the protest at the Capitol:
  https://www.centerforsecuritypolicy.org/2021/01/13/covert-cadre-what-i-saw-leading-up-to­
  the-us-capitol-attack/

  I think he's mostly got it right.

                                                                                                                          Government Exhibit
                                                                                                                          US v Hatchet Speed
                                                                                                                            22-cr-00244


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Case 1:22-cr-00244-TNM Document 65-2 Filed 05/01/23 Page 3 of 5
Case 1:22-cr-00244-TNM Document 65-2 Filed 05/01/23 Page 4 of 5
Case 1:22-cr-00244-TNM Document 65-2 Filed 05/01/23 Page 5 of 5
